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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS

 Christopher James Mansoori,                      Case Nos.
 (2019-1007189),                                   17 C 8846
                                                   21 C 5881
      Plaintiff,                                   21 C 6173
                                                   21 C 6242
 v.                                                21 C 6379
                                                   22 C 1632
 Defendants, et al.,                               22 C 1634
                                                   22 C 1635
                                                   22 C 1638
                                                   22 C 1642
                                                   22 C 2469
                                                   22 C 2470
                                                   22 C 2471
                                                   22 C 3484
                                                   22 C 3485

                                                  Judge Lindsay C. Jenkins
                                           ORDER

       Plaintiff’s motions filed on December 21, 2023 in each of the above listed cases: [149],
[71], [41], [60], [58], [58], [45], [46], [68], [66], [67], [65], [81], [59], [81]—wherein he
requests daily library access from 8am to 2pm because he needs a space affording him
better light, a flat surface, and a chair—are denied without prejudice. Inmate litigants “are
not constitutionally entitled to unfettered direct access to law libraries. Prisoners are
instead entitled to ‘meaningful’ access to the courts.” Smith v. Shawnee Library Sys., 60
F.3d 317, 323 (7th Cir. 1995) (quoted case omitted); see also Smith v. Conder, CIV. 09-304-
GPM, 2009 WL 3462031, at *2 (S.D. Ill. Oct. 23, 2009) (district courts are “reluctant to
interfere with the day-to-day operation of the prison and the manner in which law library
requests are managed”) (citation omitted). Plaintiff’s filings in his fifteen cases here
indicate he is not being denied access to courts. Nevertheless, this Court certifies that
Plaintiff has cases pending before it and should be afforded reasonable access to research
materials and some accommodating space to prepare pleadings. Defendants need not
respond to Plaintiff’s motions, but they should note in their upcoming status reports (or
other pleadings) what access Plaintiff is being afforded to prepare his pleadings.

Date:              December 27, 2023


                                                Lindsay C. Jenkins
                                                United States District Court Judge
